               EXHIBIT F
   TO FAIRHAVEN WEALTH MANAGEMENT’S
OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL
                                              150 N. Riverside Plaza, Suite 3000, Chicago, IL 60606  (312) 819-1900


                                                                                                              Sohil M. Shah
       September 25, 2020                                                                                     Direct: 312.463.6319
                                                                                                              sshah@polsinelli.com


       VIA E-MAIL
       Susan M. Guerette
       Fisher & Phillips LLP
       150 N. Radnor Chester Road, Suite C300
       Radnor, PA 19087
       sguerette@fisherphillips.com

                   Re:              Fidelity Brokerage Services LLC v. Jennifer Taylor
                                    Case No. 1:20-cv-02133

       Dear Counsel:

                     We are in receipt of your letter dated September 14, 2020 and our response is below.

                     Communications with Fidelity Customers

               We disagree with your characterization that the email communications Fairhaven
       produced “show extensive solicitation by both Taylor and her assistant.” This appears to be an
       unsupported and unnecessary legal conclusion. Additionally, your use of the word “finally”
       suggests a delay on Fairhaven’s part. Again, we disagree with this mischaracterization. We
       politely request that you refrain from making such mischaracterizations in discovery
       communications.

               You appear to assume that additional documents exist but have provided no reasonable
       basis for the existence of such documents in Fairhaven’s possession. You state as follows: “Ms.
       Lyon must have had Customer information provided to her by Taylor in order to know who to
       call on Ms. Taylor’s and Fairhaven’s behalf. The Customer list and any communications
       regarding the list, any direction to Ms. Lyon as to what to say to Customers, and any notes of her
       calls with Customers are directly responsive to Document Requests 1, 2 and 3 and must be
       produced.” Please provide the basis for this assumption. To the extent you have deposed Ms.
       Taylor and she outlined this process as you have described it, please let us know. To clarify, Ms.
       Taylor provided Ms. Lyon a list of customers and their phone numbers when she joined
       Fairhaven. Ms. Lyon only made announcement phone calls and she had no business
       development responsibility. She had a purely administrative role. When Ms. Lyon finished her
       calls, she returned the list to Ms. Taylor, along with any handwritten notes on such a list. Ms.
       Taylor and Fairhaven do not have this list and it no longer remains in their possession, custody,
       or control. Only Ms. Taylor can provide this list to Fidelity.




Atlanta         Boston    Chicago              Dallas    Denver     Houston     Kansas City     Los Angeles     Nashville   New York   Phoenix
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         Notes of Communications with Fidelity Customers

       Your assumption in this section again is incorrect. Information for individuals was only
added to Fairhaven’s Salesforce system if individuals were Fairhaven customers or after
individuals had become Fairhaven customers. Such notes were used for client retention only.
Additionally, no information was added to Fairhaven’s Salesforce system for potential clients or
customers. We disagree that entries in Fairhaven’s Salesforce system corresponding to
Fairhaven’s customers must be produced as they are not responsive to any of Fidelity’s
document requests.

         Phone Records of Calls to Fidelity Customers

        The following statement is a legal conclusion unsupported by legal authority and we
disagree with such a conclusion: “As an employee of Fairhaven, Ms. Lyon’s conduct was as an
agent of the company and she undoubtedly used Fairhaven’s phone systems to make these calls.”
The following statement is also a legal conclusion unsupported by legal authority and we
disagree with such a conclusion: “Ms. Lyon’s notes leave no doubt that she was soliciting
Fidelity Customers to move their business.” This is simply incorrect.

       Ms. Lyon did use Fairhaven’s office phone system to make announcement phone calls.
Fairhaven will agree to produce phone records for office phones for Ms. Lyon and the other
relevant custodians, and will produce these records no later than October 2, 2020.

       Your legal conclusions in this section also suggest the non-occurrence of the 2020 global
COVID-19 pandemic which effectively temporarily shut down Fairhaven’s offices soon after
Ms. Taylor began working for Fairhaven. Fairhaven does not issue company cell phones to its
employees and does not control those cell phones. Accordingly, Fairhaven cannot provide cell
phone records for individual employees.

         Emails to Fidelity Customers

        We disagree with your numerous assumptions, which again are based on conjecture
alone. Specifically, the following statement is incorrect: “The documents produced also make it
clear that Taylor, Ms. Lyon and Fairhaven sent additional emails to Customers that do not appear
to have been produced.” Again, we have produced all responsive email communications and
have not withheld any email communications in an effort of good faith on the part of Fairhaven.
If there are specific emails you believe have not been produced, please provide the dates of those
emails, and the participants in those email communications. We can then review our prior
document productions. We have not withheld any responsive emails as part of our previous




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document productions. These additional emails referenced were never sent or they would have
been produced.

         Mailings and Text Messages to Fidelity Customers

        Any documents that were mailed to Fidelity customers and which Fairhaven retained a
copy of were part of the electronic files that Mr. Horner previously and directly produced to
Fidelity this summer. Accordingly, Fidelity already has such documents. Moreover, Fairhaven
did not keep an electronic or hard copy of every document it sent to potential customers.
Accordingly, Fairhaven does not have custody or control over any additional documents. To the
extent you need these documents, you will need to subpoena the recipients of such documents.

       Additionally, as stated above, Fairhaven does not have custody of or control over
individual employees’ cell phones, and does not have access to any employees’ text messages.

         Documents Regarding Taylor’s Hire

       We again disagree with your characterization regarding Fairhaven’s production of
documents related to Fairhaven’s hiring of Ms. Taylor. Fairhaven has produced all such
responsive documents. You make several statements are false or incorrect.

       First, you state: “The documents Fairhaven produced in response to this request,
however, consist only of marketing materials and an unsigned employee agreement that does not
even include Taylor’s name. These materials are not responsive or comprehensive.” We have
advised you previously that Ms. Taylor has not executed an employee agreement. Fairhaven
cannot produce a document that does not exist. The marketing materials Fairhaven produced
were copies of the exact same documents Fairhaven handed to Ms. Taylor.

       Second, you state: “Fidelity cannot believe that an experienced Financial Advisor was
hired by Fairhaven and not a single document was generated as a result. Responsive documents
would include phone records to set up interviews, notes of discussions, calendar entries, text
message or email communications, an offer letter, new hire documents and regulatory clearance
documents. Fairhaven produced an unsigned Employment Agreement and indicated that it had
not yet been signed. However, it did not produce any documents relating to the agreement,
including any documents indicating that it was sent to or discussed with Taylor. Fairhaven did
not even produce an offer letter or any document indicating what it offered to pay Ms. Taylor.
Again, it is hard to believe that Ms. Taylor accepted a job offer without being informed in
writing what her compensation would be.” Again, much of this information is incorrect and
based on assumptions about Fairhaven’s hiring practices. While Fidelity may believe something
does not make it true and correct. There are no notes of discussions, calendar entries, email




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communications, or text messages that are responsive to your document requests. We disagree
with your assertion that phone records to set up interviews with Ms. Taylor would be responsive
or relevant to the litigation at hand. Ms. Taylor can provide any cell phone records of phone
calls with Fairhaven prior to her hiring, and any such phone records from Fairhaven are
irrelevant to your claims in the litigation. Please clarify why such phone records from Fairhaven
are relevant, and why you cannot obtain them from Ms. Taylor.

         Additionally, you assume, without any reasonable basis, that there are documents related
to the unsigned employment agreement. This is incorrect and appears to be based on pure
conjecture. You also assert that there was an offer letter or document indicating what Fairhaven
offered to pay Ms. Taylor. Again, this is incorrect. There was no offer letter. We have relayed
this to you previously, and cannot invent a document that does not exist.

        Fairhaven and Fidelity are valued business partners, and Fairhaven remains committed to
being a cooperative partner going forward. However, your September 14, 2020 letter assumes
the existence of documents that do not exist and makes many incorrect assumptions.
Additionally, Fidelity has indicated to Fairhaven that it may drag Fairhaven into the lawsuit
between Fidelity and Ms. Taylor in an effort to threaten Fairhaven into forcing Ms. Taylor into a
settlement. To the extent Fidelity is bringing Fairhaven in as a party to the existing litigation,
please advise us immediately.


                                             Sincerely,

                                             /s/ Sohil M. Shah

                                             Sohil M. Shah




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